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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 MATTHEW WHITFIELD,                               )
                                                  )
                Plaintiff,                        )
                                                  )   Case No. 2:22-cv-01054-JDW
        v.                                        )
                                                  )
 ZYNGA INC., MARK PINCUS, FRANK                   )
 GIBEAU, REGINA E. DUGAN, WILLIAM                 )
 GORDON, LOUIS J. LAVIGNE JR.,                    )
 CAROL G. MILLS, JANICE M. ROBERTS,               )
 ELLEN F. SIMINOFF, and NOEL                      )
 WATSON,                                          )
                                                  )
              Defendants.                         )

                  PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i),

plaintiff hereby voluntarily dismisses the above-captioned action (the “Action”). Defendants have

filed neither an answer nor a motion for summary judgment in the Action.

 Dated: June 21, 2022                            GRABAR LAW OFFICE

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